                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                  at CHATTANOOGA

 KEVIN LEE JACKSON                            )
                                              )   No. 1:09-cr-98/1:12-cv-115
 v.                                           )   Judge Mattice
                                              )
 UNITED STATES OF AMERICA                     )

                                     MEMORANDUM

        Kevin Lee Jackson (AJackson@), a federal inmate, has filed a pro se motion for

 post-conviction relief pursuant to 28 U.S.C. ' 2255 (Criminal Court Doc. 667).1      After

 entering a guilty plea to conspiracy to manufacture, distribute, and possess with intent

 to distribute 50 grams or more of cocaine base (“crack”) and 5 kilograms or more of a

 mixture or substance containing a detectable amount of cocaine hydrochloride, in

 violation of 21 U.S.C. §§ 846, 841(a)(1) and (b)(1)(A), Jackson received a 262 month

 sentence on April 26, 2010 (Criminal Court Doc. 444). Jackson alleges counsel failed to

 file an appeal as directed.

        Jackson also filed what the Court construes as an amendment to his § 2255

 motion, citing to DePierre v. United States,2 wherein the Supreme Court specifically

 held “the term ‘cocaine base’ as used in § 841(b)(1) means not just ‘crack cocaine,’ but

 cocaine in its chemically basic form.” Id. at 2237.

        Because Jackson’s ' 2255 motion is time-barred, the United States Attorney is

 not required to file an answer in this matter. For the reasons explained below, the Court



        1
              Each document will be identified by the Court File Number assigned to it in
 the underlying criminal case.
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               131 S.Ct. 2225 (2011).



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 concludes both Jackson’s ' 2255 motion and amendment will be DENIED as time-

 barred (Criminal Court Docs. 667, 668) and this action will be DISMISSED in its entirety.

 I.     APPLICABLE LAW

        Pursuant to the Antiterrorism and Effective Death Penalty Act of 1996

 (AAEDPA@), there is a one-year statute of limitation for filing a ' 2255 motion. See 28

 U.S.C. ' 2255. Title 28 U.S.C. 2255(f) provides, in relevant part, that the one-year

 limitations period for federal inmates seeking relief under this section shall run from the

 latest ofB

        (1)    the date on which the judgment of conviction becomes final;

        (2)    the date on which the impediment to making a motion created by
               governmental action in violation of the Constitution or laws of the
               United States is removed, if the movant is prevented from making a
               motion by such governmental action;

        (3)    the date on which the right asserted was initially recognized by the
               Supreme Court, if that right has been newly recognized by the
               Supreme Court and made retroactively applicable to cases on
               collateral review; or

        (4)    the date on which the facts supporting the claim or claims
               presented could have been discovered through the exercise of due
               diligence.

 28 U.S.C. ' 2255(f).

 II.    TIMELINESS

        The statute of limitations in Jackson’s case began to run from the date on which

 his judgment of conviction became final.        28 U.S.C. ' 2255(f)(1).     Jackson was

 sentenced to a term of imprisonment for 262 months on April 26, 2010 (Criminal Court

 Doc. 444). Jackson did not pursue a direct appeal. When a ' 2255 movant does not

 pursue a direct appeal to the court of appeals, his conviction becomes final on the date



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 on which the time for filing such appeal expired. Sanchez-Castellano v. United States,

 358 F.3d 424, 425 (6th Cir. 2004). Jackson’s judgment was entered on April 30, 2010.

 Federal Rules of Appellate Procedure 4(b)(1)(A) provides that a notice of appeal has to

 be filed in the district court within fourteen (14) days after entry of the judgment being

 appealed.    Rule 26(a) of the Federal Rules of Appellate Procedure provides that

 weekends and holidays are counted in calculating the fourteen-day period. Therefore,

 under these rules, Jackson had until May 14, 2010, to file a notice of appeal.3 Thus, the

 one-year statute of limitations began to run on May 15, 2010, the day after the

 expiration of the time for filing a notice of appeal.

        Jackson had one year from the time his judgment of conviction became final to

 file his ' 2255 motion. May 14, 2010, was the date Jackson’s right to file an appeal

 expired. Thus, Jackson was required to file his ' 2255 motion no later than May 16,

 2011. A motion filed by a prisoner is deemed filed when given to the prison authorities

 for mailing. In re Sims, 111 F.3d 45, 47 (6th Cir. 1997), (citing Houston v. Lack, 487

 U.S. 266, 270-71 (1988)). Jackson gave prison authorities his motion for mailing on

 April 6, 2012 (Criminal Court Doc. 667). Jackson’s § 2255 is time-barred as it was filed

 almost one year after the expiration of the one-year statute of limitation for filing his '

 2255 motion (Criminal Court Doc. 667).

        As discussed above, normally the date on which the statute of limitations begins

 to run would be the date the movant=s judgment became final. 28 U.S.C. ' 2255(f)(1).

 Although there are certain circumstances which permit the statute of limitations to begin


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               Rule 26(a)(1)(B) directs that all days be counted in calculating a period of
 days, including holidays and weekends, unless the last day of the period falls on a
 holiday or weekend.

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 to run on a different date, Jackson does not argue nor does the record demonstrate that

 his statute of limitations should be calculated from any date other than the date his

 judgment became final.

        Likewise, Jackson’s amendment is untimely and Jackson’s reliance on the

 Supreme Court’s DePierre decision is misplaced.           Jackson does not explain how

 DePierre is applicable in his case and the Court does not find that it has any bearing on

 any factual or legal issue in Jackson’s case. In DePierre the Court explained that “the

 most natural reading of the term ‘cocaine base’ is ‘cocaine in its base form’−i.e., . . ., the

 molecule found in crack cocaine, freebase, and coca paste[;]” id. at 2231. As previously

 noted, the DePierre Court held the term “cocaine base” as used in 21 U.S.C. § 841

 includes more than just “crack cocaine” i.e., it also includes “cocaine in its chemically

 basic form.” DePierre v. United States, 131 S.Ct. 2237. Jackson pleaded guilty to drug

 charges involving a mixture containing a detectable amount of cocaine base and a

 mixture containing a detectable amount of cocaine hydrochloride. Consequently, aside

 from the fact that the Supreme Court has not held that DePierre is retroactively

 applicable to cases on collateral review, the Court concludes that Jackson has not

 demonstrated DePierre is applicable to the facts of his case.

        Accordingly, the statute of limitations for filing a timely ' 2255 motion in his case

 expired on May 16, 2011, almost one year before Jackson filed the instant motion and

 amendment.




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 III.    CONCLUSION

         Accordingly, both Jackson=s ' 2255 motion and amendment will be DENIED as

 time-barred and this action will be DISMISSED in its entirety (Criminal Court Docs. 667,

 668).

         An appropriate judgment order will enter.




                                                     /s/ Harry S. Mattice, Jr._____ _
                                                     HARRY S. MATTICE, JR.
                                                 UNITED STATES DISTRICT JUDGE




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